Case 2:24-cv-01608-WSS   Document 37-21   Filed 02/14/25   Page 1 of 2




                    Exhibit 17
2/10/25, 8:07 PM      Case 2:24-cv-01608-WSS              Document Inmate/Parolee
                                                                   37-21 Filed    Locator 02/14/25   Page 2 of 2




                              Parolee Details
                              Parole Number: 196IN



                                  Name                         Name Type             Image

                                                               Commit
                                  JOSHUA DANILO MUNOZ
                                                               Name
                                                               Also Known
                                  JOSHUA MUNOZ
                                                               As


                                  Inmate Number: MA0808

                                  Age: 34

                                  Date of Birth: 12/23/1990

                                  Height: 5' 09"
                                                                                     6/11/2019 9:20:54
                                  Weight (lbs): 175
                                                                                     AM
                                  Gender: Male

                                  Complexion: LIGHT

                                  State: PENNSYLVANIA

                                  Release Date: 03/23/2019

                                  Last Updated Time: 2/10/2025 4:00:55 AM



                                        PRINT                                                  CLOSE




https://inmatelocator.cor.pa.gov/#/ParoleeSearchResults                                                            1/1
